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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                          GALVESTON DIVISION
CITY OF GALVESTON,                      §
     Plaintiff,                         §
                                        §
vs.                                     §   CIVIL ACTION NO. 3:22-cv-00256
                                        §
SONYA PORRETTO,                         §
    Defendant.                          §
                 THE CITY OF GALVESTON’S NOTICE OF
              VOLUNTARY DISMISSAL WITHOUT PREJUDICE

      The City of Galveston dismisses the above-captioned action without prejudice

pursuant to FED. R. CIV. P. 41(a)(1)(A)(i). Defendant Sonya Porretto has not served an

answer or motion for summary judgment in this action.

                                        Respectfully submitted,

                                        By: /s/ Barry Abrams
                                        Barry Abrams
                                        Attorney-in-Charge
                                        State Bar No. 00822700
                                        S.D. Tex. Bar No. 2138
                                        Neil F. Young
                                        State Bar No. 24121218
                                        S.D. Tex. Bar No. 3635269
                                        BLANK ROME LLP
                                        717 Texas Avenue, Suite 1400
                                        Houston, Texas 77002
                                        (713) 228-6601
                                        (713) 228-6605 (fax)
                                        barry.abrams@blankrome.com
                                        neil.young@blankrome.com

                                        ATTORNEYS FOR PLAINTIFF
                                        THE CITY OF G ALVESTON
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                           CERTIFICATE OF SERVICE

       I certify that on August 3, 2022, a true and correct copy of the foregoing and/or
attached instrument was served via the Court’s Electronic Filing System on all parties
requesting notice in this Proceeding.

                                          /s/ Barry Abrams
                                        Barry Abrams




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